










NO. 07-08-0094-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

AUGUST 18, 2008
______________________________

JESUS J. DOMINGUEZ, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 137TH DISTRICT COURT OF LUBBOCK COUNTY;

NO. 2001-435,924; HONORABLE CECIL G. PURYEAR, JUDGE
_______________________________


Before CAMPBELL and HANCOCK and PIRTLE, JJ.
ON MOTION TO DISMISS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pending before this Court is appellant’s motion to dismiss his appeal.  Appellant and
his attorney have both signed the motion.  Tex. R. App. P. 42.2(a).  No decision of this
Court having been delivered to date, we grant the motion.  Accordingly, the appeal is
dismissed.  No motion for rehearing will be entertained and our mandate will issue
forthwith.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Do not publish.



12pt"&gt;MARTHA C. FIELD AND J &amp; J CATTLE FAMILY
LIMITED PARTNERSHIP, APPELLEES
_________________________________

FROM THE 69TH DISTRICT COURT OF HARTLEY COUNTY;

NO. 4300H; HONORABLE RONALD E. ENNS, JUDGE
_______________________________


Before CAMPBELL and PIRTLE, JJ., and BOYD, S.J.



ORDER
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On July 7, 2008, this Court heard oral argument of appellant Elizabeth C. Brent’s
Second Motion to Review Security or Alternatively Reconsider June 17 Opinion.  The Court
notes that the trial court signed its “Order to Hartley County District Clerk to Disburse
Funds” on June 18, 2008, ordering disbursement of funds held in its registry to, inter alia,
Brent and appellee Martha C. Field.  Field and Brent agree that on June 19 the trial court
clerk issued checks to them and another party, Thomas &amp; Watson Trucking, Inc.  Funds
also apparently were disbursed to Hartley County.


  The same day, this Court issued an
order staying the trial court’s disbursement order.


  On July 2, we inter alia enjoined Field
and Brent from “transferring, encumbering, hypothecating, and in any way dissipating” the
funds disbursed from the registry of the court.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court makes the following preliminary orders:
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Field, Brent, Thomas &amp; Watson Trucking, Inc. and Hartley County are ordered to
return to the Hartley County District Clerk, no later than 4:30 p.m., on Tuesday, July 8,
2008, all funds disbursed by that clerk under the trial court’s June 18 Order to Hartley
County District Clerk to Disburse Funds;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Diane Thompson, District and County Clerk of Hartley County, is ordered to deposit
the funds in a fully insured, interest-bearing account, where they shall remain subject to the
further order of the Seventh Court of Appeals;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By 4:30 p.m. on Wednesday, July 9, 2008, Diane Thompson shall report to the clerk
of this Court: (1) the status of compliance with this order by Brent, Field, Thomas &amp; Watson
Trucking, Inc. and Hartley County; (2) the status of deposit of the funds by her office.  Ms.
Thompson’s report shall be in writing transmitted by facsimile, and by regular mail, with
copies to counsel for Brent, Field and Thomas &amp; Watson Trucking, Inc., and to the trial
court. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relief requested in Brent’s Second Motion to Review Security or Alternatively
Reconsider June 17 Opinion is neither granted nor denied but taken under advisement
until further order this Court.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered.
&nbsp;
Per Curiam
&nbsp;


